      Case 4:05-cr-00139-KGB      Document 87       Filed 11/16/06    Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

vs.                                  CASE NO. 4:05CR000139GH
JOSHUA LEE HOWE
and ROBERT LEE PHILLIPS                                                        DEFENDANT

                                          ORDER

         Defendants have submitted a number of requests for authorization of experts and
investigative services. The last request by defendant was characterized as a proposed
case budget.
         The Judicial Conference of the United States encourages courts to use case
budgeting in federal death penalty cases. See paragraph 6.02F of the Guidelines for the
Administration of the Criminal Justice Act and Related Statutes (CJA Guidelines), Vol. 7,
Guide to Judiciary Policies and Procedures. “Courts are encouraged to require appointed
counsel to submit a proposed initial litigation budget for court approval that will be subject
to modification in light of facts and developments that emerge as the case proceeds.” Id
         Case-budgeting worksheets have been developed by the Office of Defender
Services, Administrative Office of the United States Courts to assist the Court and counsel
in preparing and approving a realistic case budget. Before the Court will approve any
additional expenditures, defense counsel should follow the procedure in the explanatory
memorandum to complete and submit their proposed case budget. The explanatory
memorandum and worksheets can be found at www.fd.org. The budget worksheets
should be submitted as soon as possible.1


         1
         The explanatory memorandum states:
         Counsel may submit a detailed, supporting memorandum with the worksheets.

                                             -1-
  Case 4:05-cr-00139-KGB         Document 87        Filed 11/16/06     Page 2 of 2



      The government has not yet received authorization from the Attorney General for
the death penalty. The Judicial Conference recommends that courts “exercise their
supervisory powers to ensure that the death penalty authorization process proceeds
expeditiously.” Defendants were indicted on May 4, 2005. A superseding indictment was
filed on October 5, 2005. The government shall file a report sixty days regarding the
status of the authorization process.
      Accordingly, Phillips’ ex parte motion for investigative and expert services
(document no. 86) is denied without prejudice to resubmit in accordance with this Order.
      IT IS SO ORDERED this 16th day of November, 2006.




                                           __   _______________________________
                                           UNITED STATES DISTRICT JUDGE




      There are both detailed and summary worksheets for each of the four types of
      services: attorney, investigator, expert, and “other.” It is anticipated that the
      summary worksheets for each service provider would be submitted by appointed
      counsel. (The work of providers of the same type of service, including defense
      counsel, may be combined on one form, with counsel explaining the division of
      labor between them.) The court has the option of requesting that counsel prepare
      one or more of the detailed worksheets, depending on whether the summary
      worksheet(s) and any supporting memoranda supply the court with sufficient
      information to assess the budget.

                                             -2-
